Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 1 of 10 PageID: 1



Keith Harris, Esq. (KH4604)
Braff, Harris, Sukoneck & Maloof
570 West Mount Pleasant Avenue
Livingston, NJ 07039
Tel: (973) 994-6677
Fax: (973) 994-1296
Email: kharris@bhs-law.com

John P. Fuller, Esquire, pro hac vice pending
Fuller, Fuller & Associates, P.A.
12000 Biscayne Blvd., Suite 502
North Miami, FL 33181
Tel: (305) 891-5199
Fax:(305) 893-9505
Email: ipf@fullerfuller.com

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   TRENTON DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non Profit Corporation, and RONALD
MOORE, Individually,

               Plaintiffs,                                    Case No.
vs.

2140 HWY. 88, INC., a New Jersey Corporation,

               Defendant.
                                                     /


                                         COMPLAINT

       Plaintiffs, THE INDEPENDENCE PROJECT, INC., a New Jersey Non Profit

Corporation, and RONALD MOORE, Individually, on their behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, 2140 HWY. 88, Inc., a New Jersey Corporation,

(sometimes referred to as "Defendant"), for Injunctive Relief, damages, attorney's fees, litigation
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 2 of 10 PageID: 2



expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT, 42 USC S 12181. et sea.

1.     Plaintiff, Ronald Moore, is an individual residing at 1002 C entral Ave., New Providence,

       NJ 07974, in the County of Union.

2.    Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation formed

      under the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.

       maintains its principal office at 1002 Central Ave., New Providence, NJ 07974, in the

      County of Union.

3.    Defendant, 2140 HWY. 88, Inc., a New Jersey Corporation, holds title t o the subject

      property alleged by the Plaintiffs to be operating in violation of Title III of the ADA.

4.    Defendant's property, Ponti Plaza is located at 2140 Route 88, Brick, NJ 08724, in the

      County of Ocean.

5.    Venue is properly locat ed in the District of New Jersey becau se venue lies in the judicial

      district of the property situs. The Defendant's property is located in and does business

      within this judicial district.

6.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

      jurisdiction over actions which arise from the Defendant's violations of Title III of the

      Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

      and § 2202.

7.    Plaintiff, Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

      individual with disabilities as defined by the ADA, being a quadriplegic. The Plaintiff



                                               2
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 3 of 10 PageID: 3



      has encountered architectural barriers at the subject property. The barriers to access at

      the property have endangered his safety. The Plaintiff is also a member of the Plaintiff

      organization, THE INDEPENDENCE PROJECT, INC., discussed below in paragraph 9.

8.    Mr. Moore has been to the subject property on numerous occ asions and intends to return

      to the property in the near future.

9.    Plaintiff THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

      corporation. Members of this organization include individuals with disabilities as defined

      by the ADA. The purpose of this organization is to represen t the interest of its member s

      by assuring places of public accommodation are accessible to and usable by the disabl ed

      and that its members are not discriminated against because of their disabilities.

10.   THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

      continue to suffer direct and indirect injury as a result of the Defendant's discrimination

      until the Defendant is compelled to comply with the requirements of the ADA. One or

      more of its members has suffered an injury that would allow it to bring suit in its own

      right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

      because of its association with its disabled members and their claims.

11.   Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the regulations implementi ng the ADA, 28 CFR 36.201(a) and

      36.104. Defendant is responsible for complying with the obligations of the ADA. The

      place of public accommodation that the Defendant owns, operates, leases or leases to is

      known as Ponti Plaza, and is located at 2140 Route 88, Brick, NJ 08724.

12.   THE INDEPENDENCE PROJECT, INC. and Ronald Moore have a realistic, credible,

      existing and continuing threat of discrimination from the Defendant's non-compliance



                                               3
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 4 of 10 PageID: 4



          with the ADA with respect to this property as describe d but not necessarily limited to the

          allegations in paragraph 14 of this complaint. Plaintiffs have reasonable grounds to

          believe that they will continue to be subjected to discrimi nation in violation of the ADA

         by the Defendant. Ronald Moore desires to visit Ponti Plaz a not only to avail himself of

         the goods and services available at the property but to assur e himself that this property is

         in compliance with the ADA so that he and others similarly situated will have full and

         equal enjoyment of the property without fear of discrimination.

13.      The Defendant has discriminated against the individual Plaintiff and members of the

         corporate Plaintiff organization by denying them access to , and full and equal enjoyment

         of, the goods, services, facilities, privileges, advantages and/or accommodations of the

         buildings, as prohibited by 42 U.S.C. § 12182 et seq.

14.      The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

         in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

         1992 (or January 26, 1993, if Defendant has 10 or fewer e mployees and gross receipts o f

         $500,000 or less). A preliminary inspection of Ponti Plaza has shown that violations

         exist. These violations that Ronald Moore personally encoun tered or observed include,

         but are not limited to:

         Parking and Exterior Accessible Route

      a) Parking spaces throughout Ponti Plaza contain abrupt changes of level, slopes beyond
         limits within parking spaces and lack compliant accessible routes from accessible
         parking, violating Sections 402 and 502 of the 2010 Accessibility Standards. These
         conditions during numerous visits prevented Mr. Moore from unloading from his van
         freely and safely.

      b) Curb ramps provided to access stores at Ponti Plaza are unsafe for wheelchair users and
         are not provided in some areas of the center. The curb ramps contain excessive slopes,
         abrupt changes of level and lack level landings, violating Sections 402 and 406 of the

                                                  4
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 5 of 10 PageID: 5



      2010 Accessibility Standards. Mr. Moore dealt with a lack of maneuvering space at the
      top of the curb ramp. These conditions were unsafe for Mr. Moore when he accessed the
      property via the non-compliant curb ramp.

  c) The exterior accessible route from parking spaces and throughout Ponti Plaza fails to
     provide a safe accessible route, violating Section 402 of the 2010 Accessibility Standards.
     Mr. Moore was forced to travel in the traffic area of the center to get to the curb ramp and
     had to deal with cross slopes while accessing tenants.

  d) Ponti Plaza fails to provide a safe accessible route to the adjacent bus stop, street or
     sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards. The lack of an
     accessible route prevents the option of public transportation for Mr. Moore.

     Access to Goods and Services

  e) Payment counters throughout Ponti Plaza are mounted beyond the reach of Mr. Moore,
     violating Sections 308 and 904 of the 2010 Accessibility Standards. This condition
     prevented Mr. Moore from using counters without assistance.

  f) Entering tenants is impeded by abrupt changes of level at the base and slopes beyond
     limits, violating Section 404 of the 2010 Accessibility Stand ards. This condition creates
     a real and present danger to Plaintiff and creates a risk that Mr. Moore's wheelchair will
     fall over.

  g) Cordi's Italian Restaurant fails to provide accessible dining tables for those in
     wheelchairs, violating Section 902 of the 2010 Accessibilit y Standards. Mr. Moore was
     unable to dine comfortably due to a lack of accessible tables.

     Restrooms

  h) Restrooms at Ponti Plaza including Cordi's Italian Restaurant JJ 's Nails and Cigars &
     More were reported to be unsafe for use by the plaintiff. Inspect ion revealed Mr. Moore
     was unable to use the restrooms safely due to a lack of accessibility. Including,
     inaccessible water closets which lack proper controls and wheelc hair maneuvering space
     violating Section 601 of the 2010 Accessibility Standards.

  i) Restrooms at Cordi's Italian Restaurant JJ's Nails and Cigars & More provide dispensers
     beyond reach of wheelchair users and are inaccessible to the plaintiff, violating Section
     308 of the 2010 Accessibility Standards.

  j) Lavatories at Cordi's Italian Restaurant JJ's Nails and Cigars & More lack knee clearance
     and accessibility which prevented the plaintiff from freely accessing the lavatory,
     violating Section 606 the 2010 Accessibility Standards.

  k) Cordi's Italian Restaurant JJ' s Nails and Cigars & More provides restrooms that contain
     improper centerlines for the water closets and flush controls mounted on the wall side,
                                              5
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 6 of 10 PageID: 6



         violating Section 604 of the 2010 Accessibility Standard s. Mr. Moore was unable to
         access flush controls while in the restrooms due to improper location.

      1) Using restrooms doors at Cordi's Italian Restaurant JJ's Nails and Cigars & More is
         impeded by round door knobs, improper signage and a lack of maneuvering clearance,
         violating Section 404 of the 2010 Accessibility Standard s. Round door knobs, stored
         goods and maneuvering space impeded Mr. Moore from easily accessing doors.


         Maintenance

      m) The accessible features of the facility are not maintaine d, creating barriers to access for
         the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

14.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

         Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

         as promulgated by the U.S. Department of Justice.

15.      The discriminatory violations described in paragraph 13 are not an exclusive list of the

         Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

         public accommodation in order to photograph and measure all of the discriminatory acts

         violating the ADA and all of the barriers to access. The individual Plaintiff, the members

         of the Plaintiff group, and all other individuals similarly situated, have been denied

         access to, and have been denied the benefits of services, programs and activities of the

         Defendant's buildings and its facilities, and have otherwise been discriminated against

         and damaged by the Defendant because of the D efendant's ADA violations, as set forth

         above.    The individual Plaintiff, the members of the Plaintiff group and all others

         similarly situated will continue to suffer such discrimina tion, injury and damage without

         the immediate relief provided by the ADA as requested herein. In order to remedy this

         discriminatory situation, the Plaintiff requires an inspection of the Defendant's place of



                                                   6
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 7 of 10 PageID: 7



      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

16.   Defendant has discriminated against the individual and corporate Plaintiffs by denying

      them access to full and equal enjoyment of the goods, services, facilities, privileges,

      advantages and/or accommodations of its place of public acco mmodation or commercial

      facility in violation of 42 U.S.C. § 12 181 et seq. and 28 CFR 36.302 et seq. Furthermore,

      the Defendant continues to discriminate against the Plaintiff, and all those similarly

      situated by failing to make reasonable modifications in polic ies, practices or procedures,

      when such modifications are necessary to afford all offered goods, services, facilities,

      privileges, advantages or accommodations to individuals with disabili ties; and by failing

      to take such efforts that may be necessary to ensure th at no individual with a disability is

      excluded, denied services, segregated or otherwise treated differently than other

      individuals because of the absence of auxiliary aids and services.

17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Considering the balance of hardships between the Plaintiffs and Defendant, a remedy in

      equity is warranted.     Furthermore, the public interest would not be disserved by a

      permanent injunction.

18.   Plaintiffs have retained the undersigned counsel a nd is entitl ed to recover attorney's fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

19.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommod ation



                                                7
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 8 of 10 PageID: 8



      that have existed prior to January 26, 1992, 28 CFR 36.304(a) ; in the alternative, if there

      has been an alteration to Defendant's place of public accommod ation since January 26,

      1992, then th e Defendant is required to ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use w heelchairs, 28 CFR 36.402; and finally, if the

      Defendant's facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

20.   Notice to Defendant is not required as a result of the Defendant's failure t o cure the

      violations by January 26, 1992 (or January 26, 1993, i f Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precede nt have

      been met by Plaintiffs or waived by the Defendant.

21.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendant to alter Ponti Plaza to make

      its facilities readily accessible and useable to the Plaintiffs and all other persons with

      disabilities as defined by the ADA; or by closing the facility until such time as the

      Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment tha t determines that the Defendant at the

             commencement of the subject lawsuit is in violatio n of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq.



                                               8
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 9 of 10 PageID: 9



      b.      Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to make such facility readily accessible to

              and usable by individuals with disabilities to the ex tent required by the ADA; and

              to require the Defendant to make reasonable modifications in policies, practices or

              procedures, when such modifications are necessary to afford all offered goods,

              services, facilities, privileges, advantages or accommodations to individuals with

              disabilities; and by failing to take such steps that may be necessary to ensure that

              no individual with a disability is excluded, denied services, segregated or

              otherwise treated differently than other individuals because of the absence of

              auxiliary aids and services.

      c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

                                COUNT II
           VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

22.   Plaintiffs re-allege all prior obligations as if fully set forth herein. Plaintiffs repeat the

      allegations contained in all of the proceeding paragraphs.

23.   Defendant's facility is a place of public accommodation as defined by N.J.S.A. 10:5-5,

      (New Jersey Law Against Discrimination).

24.   New Jersey law provides that all persons shall have the opportunity to obtain all the

      accommodations, advantages, facilities and privileges of any place of public




                                                9
Case 3:18-cv-08818-BRM-LHG Document 1 Filed 05/04/18 Page 10 of 10 PageID: 10



        accommodation without discrimination on the basis of disability. This opportunity is

        recognized and declared to be a civ il right (See, N.J.S.A. 10:5-4.)

25.     As a result of the aforementioned discrimination, Plaintiff, Ronald Moore has sustained

        emotional distress, mental anguish and suffering and humiliation, and other injuries, in

        violation of the New Jersey Law Against Discrimination.

        WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

litigation expenses, including expert fees and costs pursuant to the New Jersey Law Against

Discrimination.



Date: / ]            i 1 ^        ^           Respectfully Submitted,




                                              KEITH HARRIS, ESQ. (KH4604)
                                              BRAFF, HARRIS, SUKONECK & MALOOF
                                              570 West Mount Pleasant Avenue
                                              Livingston, NJ 07039
                                              Ph: (973) 994-6677
                                              Fax: (973) 994-1296
                                              Email: kharris@bhs-law.com
                                              John P. Fuller, Esquire, pro hac vice pending
                                              FULLER,FULLER& ASSOCIATES,P.A.
                                              12000 Biscayne Blvd., Suite 502
                                              North Miami, FL 33181
                                              Ph: (305) 891-5199
                                              Fax: (305) 893-9505
                                              Email: jpf@fullerfuller.com

                                              Counsel for Plaintiffs, The Independence
                                              Project, Inc. and Ronald Moore
